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 4
     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        [PROPOSED] ORDER CONTINUING
12        v.                       )        STATUS CONFERENCE
                                   )
13   David Forkner and             )
     Loretta Canham,               )
14                                 )
                                   )        Date:    3/27/2009
15             Defendants.         )        Time:    9:00 a.m.
     ______________________________)        Judge:   Hon. Garland E.
16                                                   Burrell

17
          IT IS HEREBY stipulated between the United States of America
18
     through its undersigned counsel, Michael M. Beckwith, Assistant
19
     United States Attorney, together with counsel for defendant David
20
     Forkner, John R. Manning Esq., and counsel for defendant Loretta
21
     Leigh Canham, Dennis S. Waks Esq., that the status conference
22
     presently set for March 27, 2009 be continued to May 8, 2009, at
23
     9:00 a.m., thus vacating the presently set status conference.
24
     This matter involves a    wire intercept on several telephones and
25
     related pen registers, as well as over 3000 pages of discovery.
26
          It is further stipulated that the time between March 27,
27
     2009 and May 8, 2009 can appropriately be excluded from the
28
                                        1
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 1   Speedy Trial Act pursuant to 18 USC § 3161(h)(8)(B)(ii)(Local

 2   Code T-2) and 18 USC § 3161(h)(8)(B)(iv)(Local T-4).

 3   IT IS SO STIPULATED.

 4

 5   Dated: March 24, 2009                      /s/ John R. Manning
                                              JOHN R. MANNING
 6                                            Attorney for Defendant
                                              David Robbie Forkner
 7

 8   Dated: March 24, 2009                    /s/ Dennis S. Waks
                                            DENNIS S. WAKS
 9                                          Attorney for Defendant
                                            Loretta Leigh Canham
10

11
     Dated: March 24, 2009                    McGREGOR W. SCOTT
12                                            United States Attorney

13
                                        by:     /s/ Michael M. Beckwith
14                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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              Case 2:08-cr-00363-WBS Document 64 Filed 03/26/09 Page 3 of 3


 1                      IN THE UNITED STATES DISTRICT COURT

 2                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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 4   UNITED STATES OF AMERICA,       ) Case No. CR.S 08-363 GEB
                                     )
 5                   Plaintiff,      )
                                     )
 6        v.                         ) [PROPOSED] ORDER TO
                                     ) CONTINUE STATUS CONFERENCE
 7   David Forkner and               )
     Loretta Canham,                 )
 8                                   )
                                     )
 9                   Defendants.     )
     _______________________________ )
10

11          GOOD CAUSE APPEARING, it is hereby ordered that the March

12   27, 2009 status conference be continued to May 8, 2009 at 9:00

13   a.m.    I find that the ends of justice warrant an exclusion of

14   time and that the defendant’s need for continuity of counsel and

15   reasonable time for effective preparation exceeds the public

16   interest in a trial within 70 days.         THEREFORE IT IS FURTHER

17   ORDERED that time be excluded pursuant to 18 U.S.C. §

18   3161(h)(8)(B)(ii)(Local Code T-2) and 18 U.S.C. §

19   3161(h)(8)(B)(iv)(Local Code T-4) from the date of this order to

20   May 8, 2009.

21

22   IT IS SO ORDERED.

23   Dated:    March 25, 2009
24

25                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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                                           3
